                Case 3:21-md-02981-JD Document 813-1 Filed 11/27/23 Page 1 of 2
                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:                DEFENSE ATTORNEY:
 Hon. James Donato                        Lauren Moskowitz,                    Lauren Bell, Jonathan Kravis,
                                          Yonatan Even, Gary Bornstein,        Michelle Chiu, Brian Rocca,
                                          Brent Byars, Andrew Wiktor           Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                         REPORTER(S):                         CLERK:
 11/27/2023                               Kelly Shainline                      Lisa R. Clark

 PLF    DEF TIME
 NO.    NO. OFFERED            ID REC DESCRIPTION                                                           BY
            9:04 am                   Court in session; out of the presence of the jury.
                9:09 am                     Court in session; all parties and jury present.
                9:10 am                     Parties call Christian Cramer -- video deposition
 428                           X    X       Undated spreadsheet with Google revenue data                    LRC
                                            Witness shown exhibit 433
                                            Presentation dated 9/20/2018 titled, "Play Update @ CFO
 434                           X    X                                                                       LRC
                                            Council"
 440                           X    X       Undated spreadsheet with Android investment data                LRC
                9:29 am                     Plaintiff calls Ned Barnes, CPA -- direct examination
                                            Document titled, "Samsung Galaxy Store Revenue
 6956                          X    X                                                                       LRC
                                            Compared to Google Play Revenue, United States"
                                            Witness accepted as an expert in forensic accounting
                                            Witness shown a demonstrative by plaintiff
                                            Witness shown exhibit 434
                9:51 am                     Cross-examination of Ned Barnes
                                            Witness shown demonstrative by defendants, exhibit 6956
                10:10 am                    Re-direct of Ned Barnes
                10:11 am                    Defendants call Douglas Skinner -- direct examination
                                            Witness accepted as an expert in accounting
                                            Witness shown demonstrative
                10:35 am                    Cross-examination of Douglas Skinner by plaintiff
                10:45 am                    Court in recess.
                                            Court in session; all parties and jury present. Cont’d cross-
                11:04 am
                                            examination of Douglas Skinner.
                                            Witness shown exhibit 434
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PLF    DEF TIME
NO.    NO. OFFERED       ID REC DESCRIPTION                                                      BY
           11:17 am             Re-direct of Douglas Skinner by defendants
              11:18 am             Plaintiff calls Douglas Bernheim, PhD -- direct examination
                                   Witness accepted as an expert in economics
                                   Witness shown demonstrative
                                   Document titled, "Operating System Shares Based on
6903                     X   X                                                                   LRC
                                   Smartphone Sales by Region"
                                   Document titled, "Operating System Shares Based on
6924                     X   X                                                                   LRC
                                   Smartphone Sales by Region"
                                   Document titled, "Native App and Web App Share of Total
6931                     X   X     Minutes Among 14 App Categories With Most Total App           LRC
                                   Minutes on US Android Smartphones, May 2022"
                                   Document titled, "Third-Party Smartphone Operating
6932                     X   X     System Unit Shares, Based on Number of Smartphone Unit        LRC
                                   Sales"
                                   Document titled, "Shares of App Entitlements on Google
6940                     X   X                                                                   LRC
                                   Android Devices, Worldwide (Excluding China)"
                                   Document titled, "Third-Party App Store Shares of App
6941                     X   X     Entitlements on Google Android Devices, Worldwide             LRC
                                   (Excluding China)"
                                   Document titled, "Google Play Revenue and Profit by Year,
6950                     X   X                                                                   LRC
                                   Worldwide, 2011-2021"
                                   Document titled, "Difference Between Average Android and
6952                     X   X     iOS Smartphone Price, 2009-2021, Worldwide (Excluding         LRC
                                   China)"
              12:12 pm             Court in recess.
              12:52 pm             Cont’d direct examination of Douglas Bernheim, PhD
              2:07 pm              Court in recess.
                                   Court in session; all parties and jury present. Cross-
              2:28 pm
                                   examination of Douglas Bernheim, PhD.
       9100              X         No description provided
                                   Witness shown exhibits 11405, 5956, 6903
                                   Witness shown demonstrative slides 46, 45, 48
                                   Witness shown demonstrative 5, 6, 58, 59, 8, 22, 26, 9
              3:34 pm              Re-direct of Douglas Bernheim
                                   Witness shown exhibits 6903, 11405
              3:42 am              Witness excused.
              3:45 pm              Court in recess.
                                   Plaintiff has 639 minutes left.
                                   Defendants have 1462 minutes left.



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